                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                            NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
                                                       )
v.                                                     )       Criminal No. 2:11-00002
                                                       )       Judge Trauger
[25] COURTNEY JO RABIDEAU                              )
                                                       )

                                             ORDER

       The Government’s Motion to Sever (Docket No. 1203) is GRANTED. It is hereby

ORDERED that defendant Courtney Jo Rabideau is hereby SEVERED from the other

defendants for trial. Her trial will be separately set upon her arrest.

       It is so ORDERED.

       ENTER this 3rd day of October 2012.




                                                       ________________________________
                                                             ALETA A. TRAUGER
                                                               U.S. District Judge




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